Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 1 of 38 Page ID #:86




                                  E X H IB IT A

                   December 10, 2019 Notice Letter to Coolpad
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 2 of 38 Page ID #:87
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 3 of 38 Page ID #:88
  Mr. Steve Cistulli
  December 10, 2019
  Page 2 of 2


           While we have filed the Complaint, it has not yet been served. We will hold off on
  service for a short time to allow the parties to engage in meaningful licensing discussions. Even
  if and when the Complaint is served, we would be willing to extend the deadline for Coolpad's
  response to allow the parties to continue licensing discussions. If we make progress in the
  discussions and the parties need additional time to negotiate in good faith, we would be willing
  to consider a stay of the litigation to allow the parties to complete their negotiations and enter
  into a license. In our experience, the Court is generally amenable to such a stay if the parties are
  engaged in good faith licensing discussions.

          If Coolpad is interested in discussing a licensing arrangement on reasonable terms, we are
  happy to provide any additional detail you may reasonably require relating to our licensing
  terms. While we are willing to do this, we cannot and will not let this process operate merely to
  delay a license to the '801 Patent or the efforts to enforce HTL's intellectual property rights.
  Kindly please let us know by no later than December 20, 2019 if Coolpad is interested in
  entering into good faith discussions with HTL for taking a license on reasonable terms under the
  '801 Patent. Failing a positive response, we will conclude that Coolpad is not willing to license
  the '801 Patent and that pursuit of the Central District of California litigation is necessary. As
  you may know, if Coolpad continues to infringe after receiving notice of the '801 Patent, that
  infringement could be deemed "willful," which would provide the basis for HTL to seek
  enhanced damages and its attorney fees and costs in addition to compensatory damages.

          We look forward to receiving your response by December 20, 2019. Should you wish to
  contact me, please do not hesitate to do so.




) arshad Farjami
 Hypertext Technologies, LLC



  Enclosure: Copy of the Complaint in Hypertext Technologies, LLC v. Coo/pad Technologies,
  Inc., Case No. 8: 19-cv-02365 (C.D.Cal.)
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 4 of 38 Page ID #:89




                                  EXHIBIT B

                           U.S. Patent No. 7,113,801
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 5 of 38 Page ID #:90
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 6 of 38 Page ID #:91
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 7 of 38 Page ID #:92


   U.S. Patent         Sep.26,2006              Sheet 1 of 4               US 7,113,801 B2

                                   FIG. 1




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Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 8 of 38 Page ID #:93
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 9 of 38 Page ID #:94


   U.S. Patent         Sep.26,2006                       Sheet 3 of 4            US 7,113,801 B2

                                                       FIG. 3



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Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 10 of 38 Page ID #:95
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 11 of 38 Page ID #:96
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 12 of 38 Page ID #:97
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 13 of 38 Page ID #:98
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 14 of 38 Page ID #:99
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 15 of 38 Page ID
                                  #:100




                                     EXHIBIT C

                            Coolpad Statement of Information

                                Filed September 17, 2019
             Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 16 of 38 Page ID
                                               #:101
                                                                                                           F
                               State of California
                                   Secretary of State
                               Statement of Information                                                                          G940135
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                                SEP-17 2019
     COOLPAD TECHNOLOGIES INC.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C3406610                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
530 TECHNOLOGY DRIVE SUITE 100, IRVINE, CA 92618
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE
530 TECHNOLOGY DRIVE SUITE 100, IRVINE, CA 92618
6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD           PO BOX 883, PROSPER, TX 75078
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 STEVEN CISTULLI            168 WHITECAP LANE, NEWPORT COAST, CA 92657
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD            2029 BARRET DRIVE, FRISCO, TX 75033
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
KEVIN LITTLEFIELD            2029 BARRET DRIVE, FRISCO, TX 75033
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 LILY CHEN
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE

LILY CHEN 5850 OBERLIN DR #240, SAN DIEGO, CA 92121

Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
WHOLESALE
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 09/17/2019            KEVIN LITTLEFIELD                                          CFO
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 17 of 38 Page ID
                                  #:102




                                      EXHIBIT D

                    Maintenance Fees Paid for US Patent No. 7,113,801
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 18 of 38 Page ID
                                  #:103
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                                  #:104




                                      EXHIBIT E

                        Chain of Title for US Patent No. 7,113,801
    Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 20 of 38 Page ID
                                      #:105




Assignment abstract of title for Application 10221139

Invention title/Inventor          Patent         Publication    Application        PCT International registration
METHOD FOR RECEIVING DATA         7113801        20030036396    10221139
USING SMS AND WIRELESS            Sep 26, 2006   Feb 20, 2003   Sep 10, 2002
INTERNET AND SYSTEM THEREOF
Gap-Chun Back, Seung-Hyouk Yim,
Sung-Zoo Park


Assignments (8 of 8 total)

Assignment 8
Reel/frame                        Execution date         Date recorded             Properties       Pages
050139/0738                       Aug 22, 2019           Aug 22, 2019              1                2

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                               Correspondent
CELLULAR EVOLUTION, LLC                                                 FARSHAD FARJAMI
                                                                        26522 LA ALAMEDA AVE
                                                                        SUITE 360
                                                                        MISISON VIEJO, CA 92691
Assignee
HYPERTEXT TECHNOLOGIES, LLC
26522 LA ALAMEDA AVE
SUITE 360
MISSION VIEJO, CALIFORNIA 92691



Assignment 7
Reel/frame                        Execution date         Date recorded             Properties       Pages
049345/0935                       May 07, 2019           Jun 03, 2019              6                4

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                               Correspondent
NONGHYUP BANK CO., LTD.                                                 FARSHAD FARJAMI
                                                                        26522 LA ALAMEDA AVE
                                                                        SUITE 360
                                                                        MISISON VIEJO, CA 92691
Assignee
CELLULAR EVOLUTION, LLC
26522 LA ALAMEDA AVE
SUITE 360
MISSION VIEJO, CALIFORNIA 92691



Assignment 6
Reel/frame                        Execution date         Date recorded             Properties       Pages
029244/0839                       Oct 31, 2012           Nov 05, 2012              16               4

Conveyance
NOTICE OF COMPLETION

Assignors                                                               Correspondent
   Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 21 of 38 Page ID
                                     #:106
PANTECH CO., LTD.                                                  H.C. PARK & ASSOCIATES, PLC
                                                                   1894 PRESTON WHITE DRIVE
                                                                   RESTON, VA 20191
Assignee
NONGHYUP BANK (AS THE TRUSTEE OF
IDEABRIDGE OPPORTUNITY PRIVATE SPECIAL
ASSET FUND 1 AND IDEABRIDGE OPPORTUNITY
PRIVATE SPECIAL ASSET FUND 2)
120, TONGIL-RO, JUNG-GU
SEOUL
KOREA, REPUBLIC OF



Assignment 5
Reel/frame                      Execution date      Date recorded             Properties         Pages
029042/0549                     Sep 28, 2012        Sep 28, 2012              16                 6

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
PANTECH CO., LTD.                                                  H.C. PARK & ASSOCIATES, PLC
                                                                   8500 LEESBURG PIKE, SUITE 7500
                                                                   VIENNA, VA 22182
Assignee
NONGHYUP BANK (AS THE TRUSTEE OF
IDEABRIDGE OPPORTUNITY PRIVATE SPECIAL
ASSET FUND 1 AND IDEABRIDGE OPPORTUNITY
PRIVATE SPECIAL ASSET FUND 2)
120, TONGIL-RO, JUNG-GU
SEOUL
KOREA, REPUBLIC OF



Assignment 4
Reel/frame                      Execution date      Date recorded             Properties         Pages
028740/0459                     Dec 30, 2009        Aug 07, 2012              1                  14

Conveyance
MERGER (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
PANTECH & CURITEL COMMUNICATIONS, INC.                             H.C. PARK & ASSOCIATES, PLC
                                                                   8500 LEESBURG PIKE
                                                                   SUITE 7500
                                                                   VIENNA, VA 22182
Assignee
PANTECH CO., LTD.
PANTECH R&D CENTER, I-2, DMC, SANGAM-DONG,
MAPO-GU
SEOUL 121-270
KOREA, REPUBLIC OF



Assignment 3
Reel/frame                      Execution date      Date recorded             Properties         Pages
022973/0471                     Jun 01, 2009        Jul 20, 2009              23                 13

Conveyance
MERGER (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
KTFREETEL CO., LTD.                                                JONGWON KIM
                                                                   5180 PARKSTONE DRIVE, STE 175
                                                                   CHANTILLY, VA 20151
Assignee
   Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 22 of 38 Page ID
                                     #:107
KT CORPORATION
206, JUNGJA-DONG, BUNDANG-GU
KYEONGGI-DO
SEONGNAM-CITY 463-711
KOREA, REPUBLIC OF



Assignment 2
Reel/frame                       Execution date     Date recorded            Properties     Pages
021127/0134                      Jun 16, 2008       Jun 17, 2008             1              2

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
KTFREETEL CO., LTD.                                                ERNEST F. CHAPMAN
                                                                   FINNEGAN, HENDERSON, FARABOW,
                                                                   ET AL.
                                                                   901 NEW YORK AVENUE, N.W.
                                                                   WASHINGTON, D.C.20001-4413
Assignee
PANTECH CO., LTD. (50%)
PANTECH R&D CENTER
1-2, DMC SANGAM-DONG, MAPO-GU
SEOUL 171-270
KOREA, REPUBLIC OF

PANTECH& CURITEL COMMUNICATIONS INC.
(50%)
PANTECH R &D CENTER
1-2, DMC, SANGAM-SONG, MAPO GU
SEOUL 171-270
KOREA, REPUBLIC OF



Assignment 1
Reel/frame                       Execution date     Date recorded            Properties     Pages
013533/0225                      Sep 02, 2002       Sep 10, 2002             1              3

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
BACK, GAP-CHUN                                                     FINNEGAN, HENDERSON, FARABOW,
YIM, SEUNG-HYOUK                                                   ET AL
PARK, SUNG-ZOO                                                     MR. ERNEST F. CHAPMAN
                                                                   1300 I STREET, N.W.
                                                                   WASHINGTON, D.C. 20005-3315
Assignee
KTFREETEL CO., LTD.
890-20 DAECHI-DONG, GANGNAM-GU
135-280 SEOUL
KOREA, REPUBLIC OF
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 23 of 38 Page ID
                                  #:108




                                      EXHIBIT F

                         Claim Chart for US Patent No. 7,113,801

                                        Coolpad
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                                  #:109
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 25 of 38 Page ID
                                  #:110
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 26 of 38 Page ID
                                  #:111
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 27 of 38 Page ID
                                  #:112
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 28 of 38 Page ID
                                  #:113
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 29 of 38 Page ID
                                  #:114
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 30 of 38 Page ID
                                  #:115
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 31 of 38 Page ID
                                  #:116
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 32 of 38 Page ID
                                  #:117
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 33 of 38 Page ID
                                  #:118
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 34 of 38 Page ID
                                  #:119
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 35 of 38 Page ID
                                  #:120
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                                  #:121
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 37 of 38 Page ID
                                  #:122
Case 8:19-cv-02365-DOC-JDE Document 11-1 Filed 01/30/20 Page 38 of 38 Page ID
                                  #:123
